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      Tribunal de Justiça
      Comarca da Capital                                                                                                      2079
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      Processo: 0288463-96.2018.8.19.0001
                                                                                 Processo Eletrônico

      Classe/Assunto: Recuperação Judicial - Recuperação Judicial

      Autor: SERVIÇOS DE PETRÓLEO CONSTELLATION S.A.
      Autor: CONSTELLATION OVERSEAS LTD
      Autor: CONSTELLATION SERVICES LTD
      Autor: GOLD STAR EQUITIES LTD
      Autor: LANCASTER PROJECTS CORP.
      Autor: LAGUNA STAR LTD
      Autor: LONE STAR OFFSHORE LTD
      Autor: OLINDA STAR LTD
      Autor: SNOVER INTERNATIONAL INC.
      Autor: STAR INTERNATIONAL DRILLING LTD
      Autor: SERVICOS DE PETRÓLEO CONSTELLATION PARTICIPAÇÕES S.A.
      Autor: MANISA SERVIÇOS DE PETRÓLEO LTDA.
      Autor: TARSUS SERVIÇOS DE PETRÓLEO LTDA.
      Autor: ALPHA STAR EQUITIES LTD
      Autor: AMARALINA STAR LTD
      Autor: ARAZI S.À.R.L.
      Autor: BRAVA STAR LTD
      Autor: CONSTELLATION OIL SERVICES HOLDING S.A.


                         ___________________________________________________________

                                    Nesta data, faço os autos conclusos ao MM. Dr. Juiz
                                             Alexandre de Carvalho Mesquita

                                                        Em 06/12/2018




                                                          Decisão
      Trata-se de pedido de recuperação judicial com base nos artigos 47 e seguintes da Lei 11.101/05,
      formulado por SERVIÇOS DE PETRÓLEO CONSTELLATION S/A, SERVICOS DE PETRÓLEO
      CONSTELLATION PARTICIPAÇÕES S/A, ALPHA STAR EQUITIES LTD, AMARALINA STAR
      LTD, ARAZI S.À.R.L., BRAVA STAR LTD, CONSTELLATION OIL SERVICES HOLDING
      S/A, CONSTELLATION OVERSEAS LTD, CONSTELLATION SERVICES LTD, GOLD STAR
      EQUITIES LTD, MANISA SERVIÇOS DE PETRÓLEO LTDA., TARSUS SERVIÇOS DE
      PETRÓLEO LTDA., LANCASTER PROJECTS CORP., LAGUNA STAR LTD, LONE STAR
      OFFSHORE        LTD,     OLINDA STAR LTD, SNOVER INTERNATIONAL INC. e STAR
      INTERNATIONAL DRILLING LTD, alegando as requerentes, em resumo, que em 1980, foi
      fundada no Rio de Janeiro a Queiroz Galvão Perfurações S/A - o embrião do
      Grupo Constellation e, atualmente, denominada Serviços de Petróleo Constellation S/A. -,tendo
      como missão expandir o serviço de perfuração para exploração de petróleo e gás no Brasil. Afirma
      que, inicialmente, prestando serviços à Petrobras, a atuação do Grupo Constellation se deu
      através de locação de sondas de perfuração terrestres, as chamadas sondas onshore, com
      atuação, principalmente, no Norte e Nordeste do país. Aduz que paralelamente ao
      desenvolvimento da atividade de perfuração onshore, em 1994, acompanhando o novo momento
      econômico do Brasil, o Grupo Constellation passou a se dedicar à atividade de perfuração




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      Comarca da Capital                                                                                                   2080
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      offshore, consolidando, em 2006, sua atuação em águas ultra profundas. Assevera que
      atualmente o Grupo Constellation possui 9 sondas de perfuração onshore, sendo 4 convencionais
      e 5 helitransportáveis; bem como 8 sondas de perfuração offshore, sendo 2 semissubmersíveis
      ancoradas para operação em lâmina d'água de até 1.100 metros, 3 de posicionamento dinâmico
      para operação em lâmina d'água de até 2.700 metros e 3 navios-sonda para operação em lâmina
      d'água até 3.000 metros. Argumenta que o Grupo Constellation é líder em desempenho em
      operações no pré-sal devido: (a) ao seu alto nível de produtividade; (b) à tecnologia de
      monitoramento on-line da base, que otimizou a solução de problemas e vigilância;
      (c) à larga experiência com as questões operacionais, responsável por aprimorar
      diversos procedimentos como, por exemplo, da coluna de perfuração para evitar a fadiga das
      tubulações e o tubo preso em sal; e (d) ao aparelhamento das unidades de
      perfuração com equipamentos necessários para operação efetiva na área do pré-sal. Diz que as
      referidas sondas foram adquiridas pelo Grupo Constellation conforme a demanda do setor de óleo
      e gás no Brasil, a fim de atender, prioritariamente, os prospectos empreendidos pela Petrobras no
      país. Sustenta que atualmente as requerentes detêm 17 sondas, sendo 9 onshore e 8 offshore e
      que a atividade operacional predominante do Grupo é por meio de suas sondas offshore, sendo
      certo que, das 8 sondas, 7 operam no Brasil. Alega que a notabilidade das requerentes pela
      prestação de serviços de excelência no setor de exploração de óleo e gás brasileiro é indiscutível
      e reconhecido não só pelos seus clientes como por players institucionais, sendo que no ano de
      2017, por exemplo, o grupo foi o mais premiado do IADC Brazil Chapter Safety Awards, por seu
      desempenho com a segurança ambiental e laboral da sua operação. Afirma que mais
      recentemente, precisamente no último dia 23 de novembro, o Grupo foi premiado pela Agência
      Nacional do Petróleo, Gás Natural e Biocombustíveis - ANP, no Prêmio ANP de Inovação
      Tecnológica 2018, sagrando-se vencedor na categoria II "Resultado de projeto (s) desenvolvido (s)
      por Empresa Brasileira, com ou sem participação de Instituição Credenciada, em colaboração com
      Empresa Petrolífera, na área temática geral 'Exploração e Produção de Petróleo e Gás'". Aduz que
      a atividade de perfuração desenvolvida pelo Grupo Constellation, onshore e,
      principalmente, offshore, por ser complexa e altamente custosa, exige uma vultosa
      estrutura de alavancagem financeira para sua viabilização e que no caso do Grupo
      Constellation, essa estrutura de endividamento consiste, essencialmente, na emissão
      de títulos de dívida (Corporate Bond), financiamentos levantados pela Amarelina Star,
      Laguna Star e Brava Star (Project Finances) e mútuos bancários. Assevera que este é
      fundamentalmente o perfil das dívidas concursais do Grupo Constellation: recursos captados
      para a aquisição, construção e manutenção das sondas que opera e que adicionalmente, há
      também dívidas integrantes da classe I e quirografárias contraídas com fornecedores em geral,
      além de outras despesas operacionais das companhias. Argumenta que a despeito das múltiplas
      entidades indicadas no preâmbulo, a existência de garantias cruzadas, bem como a possibilidade
      de vencimento antecipado de instrumentos de dívida em razão de inadimplemento cruzado, não
      permite uma reestruturação de forma individualizada e que é preciso uma solução conjunta, que
      permita a continuidade das quase 4 (quatro) décadas de história do Grupo Constellation. Diz que a
      propósito da inter-relação das dívidas, as requerentes já chegaram a um consenso quanto à
      reestruturação de parte significativa delas com os seus credores bancários (os "Credores
      Apoiadores") - mais especificamente, o grupo de credores integrante do chamado Project Finance
      (10 instituições financeiras) e o Banco Bradesco S/A, Grand Cayman Branch (fornecedor de
      capital de giro). Sustenta que os Credores Apoiadores representam o expressivo percentual de
      48.3% da classe II e 60.2% da classe III, considerando o quadro de credores apresentado com
      essa inicial. Alega que esse apoio foi formalizado no último dia 29 de novembro por meio da
      assinatura, pelos Credores Apoiadores, requerentes e acionistas de um Plan Support Agreement
      (aqui referido como "PSA"), o qual contém as condições de reperfilamento da dívida mantida com
      os Credores Apoiadores a serem refletidas no Plano de Recuperação Judicial a ser oportunamente
      apresentado na forma da LRF. Afirma que além das condições comerciais, os Credores
      Apoiadores anuíram com a implementação do PSA por meio de um processo de recuperação
      judicial, consentindo expressamente desde logo com a competência da justiça brasileira para




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      Comarca da Capital                                                                                                   2081
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      processamento deste pedido em relação a todas as requerentes, com o deferimento da
      consolidação substancial. Aduz que é justamente nesse contexto que se insere o presente pedido
      de Recuperação Judicial em que, resumidamente, o valor total do endividamento concursal
      consiste, nesta data, no montante de R$ 5.753.783.237,78 e que a divisão do passivo nas Classes
      estabelecidas no art. 41 da LRF pode ser observada na listagem de credores contida no
      documento 7 que instrui a presente. Assevera que não obstante o conhecido e dantesco cenário
      político e econômico brasileiro tenha um peso significativo na crise enfrentada pelo Grupo
      Constellation, o presente pedido de recuperação judicial tem raízes muito mais profundas.
      Argumenta que o setor de óleo e gás é marcado por flutuações cíclicas do preço do petróleo, com
      quedas e ascensões expressivas e abruptas. Diz que, ultrapassada a crise econômica mundial de
      2008, que desacelerou o crescimento econômico mundial, reduzindo o consumo de petróleo, o
      preço do barril do petróleo voltou a crescer, chegando a custar mais de US$ 124,00 em março de
      2012. Sustenta que o êxtase do setor estimulou o amplo acesso a crédito às empresas ligadas à
      exploração do petróleo - como aquelas do Grupo Constellation -, bem como, e por consequência,
      fomentou todo o desenvolvimento do setor, que efetivamente se preparou para um aumento de
      produção. Alega que foi justamente nesse contexto de crescimento que foram contraídas as
      principais dívidas do Grupo Constellation, com a aquisição de diversas unidades de perfuração -
      os contratos (e os respectivos financiamentos) das unidades Amaralina e Laguna, por exemplo,
      tiveram início em 2012, e o da Brava, em 2014. Afirma que, desde o segundo semestre de 2014,
      os preços do barril de petróleo vêm apresentando queda dramaticamente acentuada, sem que a
      indústria tenha apresentado a recuperação rápida e nos patamares verificados em outros
      momentos históricos. Aduz que os fatores exógenos que causam a queda dos preços do barril do
      petróleo são conhecidos: (i) a redução do consumo de petróleo da China - dada
      a sua desaceleração econômica - e de outros países historicamente demandantes, como a
      Alemanha; (ii) a quase autossuficiência dos Estados Unidos - através da exploração alternativa do
      chamado "shale oil" -; (iii) a maior demanda e desenvolvimento de outras matrizes energéticas; e
      (iv) a postura dos países que integram a Organização dos Países Exportadores de Petróleo
      (OPEP) em manter a produção de petróleo elevada, mesmo diante da redução do consumo, a
      fim de, em última análise, com preços baixos, tornar inviável a produção alternativa de óleo e gás,
      notadamente mais cara - como aquela desenvolvida nos Estados Unidos, ou mesmo a que vem se
      desenvolvendo no pré-sal brasileiro. Assevera que diante de muita oferta e redução da procura, o
      mercado sabidamente estacionou e que a baixa remuneração do barril de petróleo e a
      insegurança em relação às projeções tornou o crédito mais restrito, impactando diretamente a
      higidez dos vultosos projetos relacionados à exploração de petróleo. Argumenta que no caso do
      Grupo Constellation, os contratos de prestação de serviço e de afretamento, cuja equação
      econômico-financeira originariamente garantia o pagamento das dívidas contraídas para a
      fabricação das unidades de perfuração, atualmente, possuem uma taxa de remuneração diária
      substancialmente inferior à que vinha sendo praticada. Diz que o declínio brusco a partir de 2014,
      acentuado nos últimos dois anos, deixa clara a oscilação do mercado, que afeta diretamente a
      taxa de remuneração dos contratos, cujo prazo de vigência é de 6 anos, em média e que não é
      difícil concluir, portanto, pelo desequilíbrio da equação econômico-financeir
      a dos referidos contratos e, consequentemente, pelo prejuízo suportado pelo Grupo Constellation.
      Sustenta que a este cenário global soma-se a conjuntura econômica do nosso país. Alega que o
      Grupo Constellation tem sua atividade operacional desenvolvida principalmente no Brasil, fornecia
      serviços prioritariamente para uma empresa brasileira, sabidamente para a Petrobras, ou seja, os
      efeitos da crise no país ressoaram imperdoavelmente sobre as requerentes. Afirma que não por
      outro motivo, a crise sem precedentes gerou dificuldades não só para a estatal, mas,
      naturalmente, para toda a sua cadeia de fornecedores. Aduz que no ápice do aquecimento da
      indústria no Brasil, incentivado pela política econômica do nosso governo, bem como pelo apetite
      da Petrobras, o Grupo Constellation investiu pesadamente na obtenção de unidades de perfuração
      offshore. Assevera que, como resultado, o Grupo Constellation sempre teve posição de destaque
      no ranking de principais operadores de sondas de perfuração da Petrobras, tendo ostentado, por
      longos períodos a primeira colocação. Argumenta que, em decorrência da crise, esses 2 vetores




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      Comarca da Capital                                                                                                   2082
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      foram alterados radicalmente, isto é, a Petrobras, por razões evidentes, interrompeu projetos,
      estacionou investimentos e vem contratando de forma menos acelerada que no passado e o
      governo, por sua vez, começa a estabelecer uma nova política para o setor de óleo gás. Diz que o
      Programa de Desinvestimento iniciado pela Petrobras que, entre outras medidas, deixou de
      participar de novos leilões para exploração do pré-sal, é um claro exemplo de retração do
      mercado, sendo que a meta divulgada pela empresa para este biênio de 2017-2018 era de
      garantir o levantamento do valor expressivo de 21 bilhões de dólares com as medidas
      implementadas por meio do referido programa. Sustenta que, não fosse o bastante, cita-se as
      exigências regulatórias cada vez mais rigorosas, que aumentaram a necessidade de capital para
      operação, manutenção e mão-de-obra das unidades de perfuração, bem como o aumento na
      carga tributária sobre a importação de alguns dos principais equipamentos relacionados à
      exploração e produção de petróleo, o que também aumenta o custo operacional do Grupo
      Constellation no Brasil. Alega que, apesar das requerentes serem altamente reconhecidas no
      mercado pela sua solidez e pela sua capacidade administrativa-operacional e eficiência - o que se
      revela evidente pelo próprio apoio antecipado de parte significativa dos seus credores com a
      assinatura do PSA, conforme exposto anteriormente -, a crise econômica e petrolífera que se
      instaurou internacionalmente e, principalmente, no território brasileiro, terminou afetando de forma
      brutal o seu fluxo de caixa. Afirma que, por essa razão, há mais de um ano o Grupo Constellation
      conduz a reestruturação da sua dívida com seus credores financeiros fora do ambiente judicial e
      que embora a negociação tenha sido especialmente exitosa, o acordo não foi possível com uma
      parte dos credores, tornando inevitável esse pedido a fim de se obter a proteção judicial na forma
      da LRF. Aduz que o Grupo Constellation tem a confiança de que a crise de liquidez enfrentada é
      passageira e não deve afetar de forma definitiva a solidez das atividades por ele desenvolvidas.
      Assevera que, em que pese não se espere, no curto prazo, a recuperação do preço do barril do
      petróleo, as requerentes confiam que o descasamento no seu fluxo de caixa que conduziu à
      presente Recuperação Judicial é transitório, isso porque as são sociedades altamente
      capacitadas e especializadas e estão aptas a participar do novo cenário do setor de óleo e gás no
      país, que irá, necessariamente, proporcionar a exploração do petróleo do pré-sal, bem como que
      já estão sendo muito bem-sucedidas em relação a novos negócios. Argumenta que ainda em
      2017, o Grupo Constellation firmou contrato offshore internacional com a Oil and Natural Gas
      Corporation ("ONGC"), empresa estatal de exploração de petróleo indiana, para afretamento da
      sonda Olinda Star, com duração de 3 (três) anos e que a operação está sendo desenvolvida em
      um dos blocos de gás natural em águas profundas na bacia Krishna Godavaria, localizada na
      costa leste indiana. Diz que mesmo no Brasil, o Grupo Constellation tem obtido vitórias
      importantes em licitações, refletidas em contratos de curto e curtíssimo prazo, respectivamente,
      com a Shell Brasil Petróleo Ltda. e com a Queiroz Galvão Exploração e Produção S/A. Sustenta
      que tal fato apenas ressalta que, não obstante a situação de crise singular vivida pelo país, o
      mercado nacional possui uma enorme demanda potencial que pode ser atendida pelo Grupo
      Constellation, dada sua notoriedade no mercado brasileiro. Alega que, em uma
      perspectiva global, o cenário futuro é positivo para o setor de óleo e gás, diante da grande
      demanda de energia mundial e, principalmente, da previsão de aumento do preço dos produtos
      básicos energéticos - para esse ano, a estimativa era de um aumento próximo a 4%. Afirma que,
      além disso, superando as projeções da indústria, no último ano, se verificou uma reação positiva
      de mercado e o preço do barril de petróleo chegou muito próximo de US$ 80,00, o que estava
      previsto para ocorrer apenas em meados de 2019. Aduz que está claro o grande interesse no
      estímulo às atividades das requerentes e que a presente Recuperação Judicial possibilitará a
      manutenção de mais de 1.200 postos de trabalho diretos no país - e tantos outros indiretos -, a
      implementação de medidas e eficiência operacional e reestruturação societária, permitindo a
      atuação competitiva no setor de óleo e gás do país - e internacionalmente. Assevera que, antes
      mesmo do ajuizamento do presente pedido, o Grupo Constellation adotou no último ano (i) ajustes
      nos orçamentos anuais de suas diversas áreas, tendo em vista a realidade atual; (ii) congelamento
      de reajustes salariais espontâneos; (iii) redimensionamento das estruturas organizacionais
      ("rightsizing"); e (iv) adequação do quadro de pessoal. Argumenta que, nada obstante, em que




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      Comarca da Capital                                                                                                   2083
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      pese toda a série de medidas que o Grupo Constellation vem adotando para se
      adaptar ao novo momento, nenhuma delas, isoladamente ou em conjunto, surtirá os efeitos
      desejados caso não seja concedida a proteção conferida pela LRF, com a suspensão da
      exigibilidade das suas dívidas, garantindo o fôlego necessário para que as Requerentes possam
      se reorganizar e propor um plano de pagamento da dívida existente aos seus credores, adequado
      à nova realidade, conforme refletido no PSA. Diz que a retração do mercado gerou a necessidade
      de readequação dos financiamentos, já que as taxas de remuneração das sondas, atualmente,
      são muito inferiores àquelas praticadas à época da formalização dos contratos e que assim,
      mesmo num cenário hipotético em que o Grupo Constellation mantivesse em
      operação todas as suas sondas, ainda assim seria necessário reestruturar seu
      endividamento para solucionar o descasamento do fluxo de caixa, sem a perda de seus principais
      ativos, quais sejam: as unidades de perfuração, que, em última análise, possibilitam sua atividade
      fim. Sustenta que desde o início de 2017, o Governo Federal e a ANP realizaram diversas
      alterações regulatórias relacionadas ao setor de Petróleo e Gás Natural, a fim de tornar mais
      atraentes as rodadas de licitação e, consequentemente, estimular novos investimentos na área do
      pré-sal. Alega que a principal alteração foi a mudança do regime de concessão para partilha de
      produção, através do qual o Estado e as empresas exploradoras dividem entre si a produção do
      óleo e gás e que contudo, espera-se, ainda, uma maior abertura dos campos de exploração do
      pré-sal a outras operadoras, o relaxamento das regras de Desinvestimento da
      Petrobras, bem como o desenvolvimento comercial da região localizada                na    margem
      equatorial, apoiado no desenvolvimento alcançado pela ExxonMobil Corporation na Guiana.
      Afirma que a expectativa do governo com essas alterações é que a exploração renda valor
      superior a R$ 100 bilhões em investimento. Aduz que é notório que a produção de óleo no mundo
      em países não pertencentes à OPEC vem declinando a taxas constantes nos últimos anos.
      Assevera que, neste sentido, o pré-sal brasileiro e as áreas petrolíferas do Canadá são tratados
      como meios de compensação das taxas de declínio global. Argumenta que o cenário para o setor
      é positivo e a demanda por sondas offshore para exploração em águas ultra profundas tende a
      aumentar para os próximos anos e que neste sentido, a relevância do Grupo Constellation
      desponta no setor, já que 6 de suas 8 sondas são aptas para perfuração em águas ultra
      profundas. Diz que, neste ponto, frisa-se a relevância histórica do Grupo Constellation, que atua
      há 35 anos no mercado brasileiro e permanece bem posicionado na assunção de novos
      negócios, por cinco razões principais: (a) os custos de mobilização em relação às operadoras
      internacionais são bem menores, já que por circunstâncias comerciais as sondas já estão
      localizadas no Brasil; (b) registro operacional e de segurança exemplar do Grupo; (c) a
      excelência organizacional e expertise no mercado de extração brasileiro; (d) equipe
      de      gestão    experiente     e    altamente qualificada; e (e) frota excepcional, eleita
      consecutivamente, de março de 2016 a março de 2018, o equipamento líder em frotas da
      Petrobras. Sustenta que todos esses fatores induzem a conclusão de que esta é uma recuperação
      plenamente possível, que atende aos fins da LRF e que, por isso, deve ser deferida por este
      Juízo. Requereu, ao final, o deferimento do processamento da recuperação judicial. A inicial veio
      instruída com os documentos de fls. 35/2077.

      É O RELATÓRIO. DECIDO.

      Inicialmente, cumpre apreciar a questão relativa ao litisconsórcio ativo. Como as requerentes
      ressaltaram na sua petição inicial, em que pese tenham personalidades jurídicas diversas,
      patrimônios autônomos, estruturas próprias adequadas para exercício de suas atividades e sejam
      em sua maioria sociedades estrangeiras, todas elas reúnem esforços no sentido de possibilitar o
      desenvolvimento da operação de sondas onshore e offshore no Brasil, compondo um grupo
      econômico.

      Como lá dito também, há muito já se consolidou o entendimento jurisprudencial de que o
      litisconsórcio no processo recuperacional é plenamente admissível, quando verificada, justamente,




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      Comarca da Capital                                                                                                   2084
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      cap01vemp@tjrj.jus.br


      a configuração de grupo econômico, aplicando-se ao caso o art. 113, I do NCPC em razão de
      haver entre as requerentes comunhão de direitos e de obrigações relativamente a esta
      recuperação judicial. Além do mais, além de não ser a Lei nº 11.101/05 expressa quanto aos
      processos recuperacionais transnacionais, é certo que não há impeditivo à formação de
      litisconsórcio com empresas estrangeiras. Ressalte-se que os Credores Apoiadores, principais
      interessados na recuperação das requerentes, igualmente reconheceram que este pedido deve
      ser processado em consolidação substancial. Assim, defiro o litisconsórcio ativo como pretendido.

      Com relação à questão da competência, não há dúvidas no sentido de que o centro das
      operações atuais das recuperandas se situa na cidade do Rio de Janeiro, levando-se em conta
      também um fato relevantíssimo: apesar de muitas delas serem sociedades internacionais, a sua
      atividade direciona-se para a mesma atividade empresarial, com foco em prestação de serviços no
      Brasil e historicamente predominantemente para um cliente brasileiro, a saber, a Petrobras.

      A empresa requerente atendeu aos requisitos do artigo 48 da Lei 11.101/05, ao comprovar que
      está em atividade há mais de 02 (dois) anos conforme se constata dos atos constitutivos e do
      comprovante de CNPJ.

      A inicial expõe as causas da crise econômico-financeira, conforme impõe o inciso I do art. 51 da
      Lei 11.101/05, vindo acompanhada da documentação exigida pelo inciso II do mesmo artigo.

      A requerente apresentou certidões negativas de protestos, de interdições e tutelas, e demonstra a
      inexistência de procedimentos falimentares ou de anterior recuperação judicial e inexistência de
      procedimentos criminais em face dos administradores.

      Por tais fundamentos, defiro o processamento da recuperação judicial das referidas empresas e
      determino, nos termos do artigo 52 da Lei 11.101/05:

      I - Que a requerente acrescente após seu nome empresarial a expressão "em recuperação
      judicial";
      II - A suspensão de todas as ações e execuções contra a requerente, na forma do art. 6º da Lei
      11.101/05 e mais as exceções previstas no art. 49, parágrafos 3º e 4º da mesma Lei;
      III - Que a requerente apresente contas demonstrativas mensais durante todo o processamento da
      recuperação judicial, sob pena de destituição de seus administradores;
      IV - A expedição e publicação do edital previsto no parágrafo 1º do art. 52 da Lei 11.101/05;
      V - A intimação do Ministério Público e comunicação às Fazendas Públicas Federal, Estadual e do
      Município do Rio de Janeiro.

      Considerando os argumentos expostos na petição inicial, determino que a relação de empregados
      e as declarações de bens apresentadas em cumprimento ao art. 51, incisos IV e VI, da LRF,
      fiquem acauteladas no gabinete deste julgador, sob segredo de justiça, ficando o acesso a elas
      restrito apenas ao juiz, ao Administrador Judicial e ao representante do Ministério Público,
      cabendo a esses a vista mediante requerimento fundamentado.

      Nomeio Administrador Judicial Marcello Ignácio Pinheiro de Macêdo, com escritório na rua do
      Carmo, 57, 4º andar, Rio de Janeiro, RJ, (tel.: 2252-7095), que desempenhará suas funções na
      forma do inciso III do caput do artigo 22 da Lei 11.101/05, sem prejuízo do disposto no inciso I do
      caput do artigo 35 do mesmo diploma legal.

      Para a fixação da remuneração do Administrador Judicial, traga o mesmo planilha indicando
      precisamente os valores que pretende cobrar a título de honorários.

      Intime-se o Administrador para, aceitando o encargo, assinar o termo de compromisso em cartório.




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              Dê-se ciência ao MP (art. 3º, X da Deliberação OECPJ nº 30 de 29 de agosto de 2011).

                                                        Rio de Janeiro, 06/12/2018.


                                           Alexandre de Carvalho Mesquita - Juiz Titular

                                 ___________________________________________________________

                                                       Autos recebidos do MM. Dr. Juiz

                                                       Alexandre de Carvalho Mesquita

                                                             Em ____/____/_____




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